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Return of Service

Person/Entity being served : Lowe’s Home Center, LLC

Case Number/Job Number 1:19-cv-03209-N YW Date: 11/15/19 Time: 2:40 PM

Process Service made by Elbert Lawrence Title: Process Server

Check one box below to indicate appropriate method of Service

[x] Served personally, Debbie Fylak , who is designated to accept service for Corporation Services
Company, as registered agent authorized to accept service for Lowe’s Home Center, LLC

Place where served: 2626 Glenwood Avenue, suite 550, Raleigh, NC 27608

Documents, Served:

1. CONSENT/NON-CONSENT TO THE EXERCISE OF JURISDICTION BY
A UNITED STATES MAGISTRATE JUDGE IN DIRECT ASSIGNMENT
CASES ,
CIVIL COVER SHEET
CLASS ACTION COMPLAINT AND JURY DEMAND
EXHIBIT B

SUMMONS IN A CIVIL ACTION

EXHIBIT A

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DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that Statements
contained in the Returns of Service Document are true and correct. At the time of service I was at least

18 years of age and not a i to this actio

Executedon \\ [1S /] Soda eu

Date Signature of Server
6624 Speight Circle, Raleigh, NC

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